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             IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER J. HADNAGY,                 :
individually and on behalf of           :
SOCIAL-ENGINEER, LLC,                   :          CIVIL ACTION – LAW
                                        :
                         Plaintiff,     :
                                        :
vs.                                     :       JURY TRIAL DEMANDED
                                        :
JEFF MOSS,                              :
                                        :
and                                     :         NO.: 2:22-cv-03060-WB
                                        :
DEF CON                                 :
COMMUNICATIONS, INC.,                   :
                                        :
                      Defendants.       :

                                      ORDER

      AND NOW, this ____ day of ________________, 2022, upon consideration

of Defendants’ Motion to Dismiss for Lack of Personal Jurisdiction and Failure to

State a Claim, and Plaintiffs’ Memorandum of Law in Opposition to Defendants’

Motion to Dismiss, it is hereby ORDERED, ADJUDGED, and DECREED that

said Motion is DENIED.

                                            BY THE COURT:


                                            __________________________
                                            WENDY BEETLESTONE, J.
